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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                       GREAT FALLS DIVISION


UNITED STATES OF AMERICA,                        CR-06-39-GF-BMM-02

                Plaintiff,

      vs.
                                                         ORDER
KELLY RUTH MORTENSON,

                Defendant.



      United States Magistrate Judge John Johnston entered Findings and

Recommendations in this matter January 11, 2017. (Doc. 371.) Neither party filed

objections. When a party makes no objections, the Court need not review de novo

the proposed Findings and Recommendations. Thomas v. Arn, 474 U.S. 140, 149-

52 (1986). This Court will review Judge Johnston’s Findings and

Recommendations, however, for clear error. McDonnell Douglas Corp. v.

Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313 (9th Cir. 1981).

      Judge Johnston conducted a revocation hearing on January 4, 2017. (Doc.

Doc. 371 at 3-4.) Mortenson admitted that she violated the conditions of her

supervised release. The violations prove serious and warrant revocation of

Mortenson’s supervised release. Judge Johnston has recommended that the Court



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revoke Mortenson’s supervised release and commit Mortenson to the custody of

the Bureau of Prisons for two months. Id. at 4. Judge Johnston further has

recommended that 52 months of supervised release follow her custody period. Id.

      The Court finds no clear error in Judge Johnston’s Findings and

Recommendations. Mortenson’s violations of her conditions represent a serious

breach of the Court’s trust. A sentence of two months custody followed by 52

months supervised release represents a sufficient, but not greater than necessary,

sentence.

      IT IS ORDERED that Judge Johnston’s Findings and Recommendations

(Doc. 371) is ADOPTED IN FULL.

      IT IS FURTHER ORDERED that Defendant Kelly Ruth Mortenson be

sentenced to two months custody followed by 52 months of supervised release.

      DATED this 26th day of January, 2017.




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